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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    BECKLEY DIVISION

MICHAEL D. ROSE, et al.,            )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )                                         Civil Action No. 5:22-cv-00405
                                    )                                                          (Judge Volk)
JEFF S. SANDY, et al.,              )
                                    )
      Defendants.                   )
____________________________________)


                         JOINT MOTION FOR PRELIMINARY APPROVAL
           Pursuant to Federal Rule of Civil Procedure 23(e), Plaintiffs Michael D. Rose, Robert C.

Church, Sr., Nicole Henry, Edward L. Harmon, Thomas Fleenor, Jr., William Bohn, and Tonya

Persinger, individually and on behalf of a putative class of others similarly situated (collectively,

“Plaintiffs” ) and Defendants Jeff S. Sandy, individually and in his official capacity as the former

Cabinet Secretary of the West Virginia Department of Homeland Security, William K. Marshall III,

individually and in his official capacity as the Commissioner of the West Virginia Division of Corrections

and Rehabilitation, Betsy Jividen, Brad Douglas, and Michael Francis (collectively, “Settling

Defendants) (all collectively, “Settling Parties”) move for entry of a Preliminary Approval Order

that, among other things, preliminarily approves the Settlement Agreement and Release

(“Agreement”) (Exhibit A)1 in this Class Action and for settlement purposes only provisionally

certifies pursuant to Rule 23(a) and (b)(1)(B) a Class defined as all persons who were incarcerated

at the Southern Regional Jail for a period greater than two (2) days during the Class Period.2




1
    The definitions set forth in the Agreement are hereby adopted and incorporated into this Memorandum.
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         Attached to this motion are the following:

         Exhibit A:       Settlement Agreement and Release with certain Exhibits3

         Exhibit B:       Affidavit of Stephen P. New

         A Memorandum of Law in Support of Joint Motion for Preliminary Approval is also

submitted contemporaneously.

WHEREFORE, the Settling Parties respectfully request that the Court grant this motion and

enter an Order that:

     (1) Preliminarily approve the Settlement Agreement, subject to the rights of Class Members to

         object to the Settlement at the Final Approval Hearing;

     (2) Preliminarily certify for purposes of this Settlement only under the provisions of Rule 23(a)

         and Rule 23(b)(l)(B) of the Federal Rules of Civil Procedure, a Class as specified herein

         to include all persons who have been incarcerated at the Southern Regional Jail for a period

         greater than two (2) days during the Class Period;

     (3) Preliminarily appoint Michael D. Rose, Robert C. Church, Sr., Nicole Henry, Edward L. Harmon, Thomas

         Fleenor, Jr., William Bohn, and Tonya Persinger. as Class Representatives for Settlement purposes;

     (4) Preliminarily appoint Stephen P. New and Emilee B. Wooldridge and the law firms of

         Stephen New & Associates, Amanda J. Taylor and the law firm of Taylor, Hinkle & Taylor,

         Timothy P. Lupardus and the Lupardus Law Office, Robert Dunlap and Robert P. Dunlap

         and Associates PLLC, and Zachary Kyle Whitten and Whitten Law Office as Class Counsel

         for settlement purposes;




3
 The remaining exhibits to the Settlement Agreement and Release shall be filed with the Court separately within 7
days.

                                                       2
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  (5) Approve the form, manner, and content of the Email Notice, U.S. Mail Notice, and Claim

     Form described in this Settlement Agreement, which is being prepared and will be provided

     to the Court separately;

  (6) Appoint Tiffany Janowicz and Rust Consulting, Inc. as the Claim Administrator and direct

     the Claims Administrator to email, mail, and post said Class Notice within twenty-five (25)

     days of the entry of the Preliminary Approval Order to the Class Members, and order

     Settling Defendants to provide a Class Member list to the Claims Administrator in

     electronic format within five (5) days of the entry of the Preliminary Approval Order;

  (7) Find that the provision of the Class Notice as described above constitutes the best notice

     practicable under the circumstances, and is due and sufficient notice to the Class, and that

     the Class Notice fully satisfies the requirements of due process and of Rule 23 of the

     Federal Rules of Civil Procedure;

  (8) Find that Settling Defendants have complied with 28 U.S.C. § 1715;

  (9) Appoint a Guardian Ad Litem to represent and protect the interests of class members who

     are incarcerated pursuant to Rule 17(c)(2) of the Federal Rules of Civil Procedure.

     Jointly submitted this 8th day of December 2023.




/s/     Stephen P. New____                  /s/ Amy M. Smith
Stephen Paul New (WV Bar #7756)             Michael D. Mullins (WVSB No. 7754)
Emilee B. Wooldridge (WV Bar #14310)        Larry J. Rector (WVSB No. 6418)
Stephen New & Associates                    Amy M. Smith (WVSB No. 6456)
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Amanda Taylor (WVSB 11635)                  michael.mullins@steptoe-johnson.com

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Counsel for Plaintiffs




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 BECKLEY DIVISION

 MICHAEL D. ROSE, et al.,

                          Plaintiffs,

 v.

 JEFF S. SANDY, et al.
                                                              Civil Action No.: 5:22-cv-00405
                          Defendants.                         Honorable Frank W. Volk



                                   CERTIFICATE OF SERVICE

          I certify that on this 8th day of December, 2023, I filed the foregoing “Joint Motion for

Preliminary Approval” via the CM/ECF system, which will send a notification to all counsel of

record.



                                                              s/ Stephen P. New
                                                              Stephen P. New (WVSB 7756)




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